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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                               (BALTIMORE DIVISION)



NATIONAL UNION FIRE INSURANCE             )
COMPANY OF PITTSBURGH, PA, et al.,        )
                                          )
                 Plaintiff,               )
                                          )
            v.                            )     CASE NO. 1:03-CV-03408-AMD
                                          )     (Consolidated with: 1:03-cv-03414-AMD)
PORTER-HAYDEN COMPANY, et al.,            )
                                          )
                 Defendants.              )
                                          )




   PORTER-HAYDEN COMPANY’S OPPOSITION TO NATIONAL UNION AND
  AMERICAN HOME’S JOINT MOTION FOR PARTIAL SUMMARY JUDGMENT




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                                              June 24, 2005
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                   (BALTIMORE DIVISION)



NATIONAL UNION FIRE INSURANCE                        )
COMPANY OF PITTSBURGH, PA, et al.,                   )
                                                     )
                     Plaintiff,                      )
                                                     )
                v.                                   )      CASE NO. 1:03-CV-03408-AMD
                                                     )      (Consolidated with: 1:03-cv-03414-AMD)
PORTER-HAYDEN COMPANY, et al.,                       )
                                                     )
                     Defendants.                     )
                                                     )

    PORTER-HAYDEN COMPANY’S OPPOSITION TO NATIONAL UNION AND
   AMERICAN HOME’S JOINT MOTION FOR PARTIAL SUMMARY JUDGMENT
           Porter-Hayden Company (“Porter-Hayden”), by and through the Official Committee

of Unsecured Creditors (“the Committee”), submits this memorandum of law in opposition to the

Motion for Partial Summary Judgment filed by National Union Fire Insurance Company of

Pittsburgh, Pennsylvania and American Home Assurance Company (collectively, the “Insurers”).

                                  PRELIMINARY STATEMENT
           The linchpin of the Insurers’ motion is their assertion that, as a matter of law and

undisputed fact, coverage for the underlying asbestos claims at issue here is limited solely to

those insurance policies in force during the time that the underlying claimant was exposed to an

external source of asbestos. Because that assertion is wrong, all of the other portions of the

Insurers’ motion, including their purported allocation methodology, and their assertion that the

underlying claims necessarily fall under the completed operations hazard’s aggregate limits,

necessarily must fail.

           That critical linchpin of the pending motion is contrary to the plain language of the

policy language, which provides coverage for bodily injury during the policy period, regardless
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of when the event which gives rise to that injury takes place. As set forth in the accompanying

affidavit of insurance drafting history expert Richard E. Stewart, it also is contrary to the drafting

history, which shows that the industry organizations that drafted the standard-form policy

language expressly rejected an exposure-only trigger. In addition, as set forth in the

accompanying affidavit of medical expert Edward Gabrielson, M.D., it is contrary to the physical

reality of asbestos-in-residence in the body, which does not cease its effects when external

exposure ends, but continues to create new bodily injury thereafter as additional cells are

exposed to the asbestos fibers existing in the body. It is contrary to the weight of recent

authority, which holds that asbestos bodily injury claims trigger every liability insurance policy

sold to the policyholder from the date of first exposure through at least the date that the

underlying claimants’ injuries became known. At the very least, the record in this case and on

this motion raises substantial questions of fact as to how the policies were intended to apply, and

as to their proper application to the specific facts of the asbestos bodily injury claims at issue.

           Apparently recognizing this, the Insurers attempt to side-step those issues of fact by

arguing that the trigger issue already has been decided as a matter of law by the Maryland Court

of Appeals in Lloyd E. Mitchell, Inc. v. Maryland Casualty Co., 324 Md. 44, 58, 595 A.2d 469,

476 (1991) (“Mitchell”). That argument drastically distorts Mitchell, which holds only that “at a

minimum coverage under the policy is triggered upon exposure to and inhalation of asbestos

fibers during the policy period.” 324 Md. at 63, 595 A.2d at 478 (emphasis added). As much as

the Insurers wish it were otherwise, the simple fact is that the Maryland Court of Appeals has not

adopted an exposure-only trigger, and the question of whether that trigger is appropriate cannot

be decided on this motion for summary judgment.

           Nor are the Insurers entitled to summary judgment holding that they are liable only

for a pro-rated share of the liabilities that trigger their policies. That assertion is based almost




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exclusively on the Fourth Circuit’s decision in In re Wallace & Gale Co., 385 F.3d 820, 830-31

(4th Cir. 2004) (”Wallace & Gale”), in which the Fourth Circuit held that there was no evidence

that the Maryland Court of Appeals would disagree with a Maryland intermediate appellate

ruling prorating coverage among triggered policies. However, neither the Fourth Circuit nor that

intermediate appellate court were presented with the drafting history of the standard-form policy

language at issue here. That history shows that insurers understood that the policy language at

issue here did not provide for proration, and that it would, instead, operate precisely as

policyholders assert, making each triggered policy jointly and several liable for the full amount

of the loss. As the Maryland Court of Appeals has held repeatedly, most notably in Sullins v.

Allstate Insurance Co., 340 Md. 503, 515, 667 A.2d 617, 623 (1995) (“Sullins”), a showing that

the drafters of policy language agreed with a given interpretation of that language provides

persuasive evidence that the interpretation is reasonable and, therefore, enforceable. The

drafting history of the occurrence form thus, at the very least, raises significant questions of fact

as to whether the Maryland Court of Appeals would prorate coverage among all triggered

policies.

             Porter-Hayden submits that the Court also should reject the Insurers’ attempt to evade

the burden of proof they bear on this motion for summary judgment. Contrary to their strained

contention, the Insurers, not Porter-Hayden, bear the burden of proving which claims, if any, are

subject to the coverage limitations imposed on claims relating to the completed operations

hazard. The Insurers cannot meet that burden, for at least three reasons. First, of course, is the

fact that the Insurers’ arguments regarding the scope of the completed operations hazard depend

upon the application of an exposure-only trigger of coverage; because the application of that

trigger is contrary to Maryland law, the Insurers cannot bear their burden of showing that they

are entitled to judgment as a matter of law. Second, even if an exposure-only trigger were




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applicable here, the record in this case, including the affidavits submitted herewith of

eyewitnesses to Porter-Hayden’s operations, demonstrates that disputed issues of material fact

remain as to whether the operations which give rise to Porter-Hayden’s underlying liability were

“completed,” precluding a ruling on summary judgment that all of the underlying claims fall

under the completed operations hazard. Third, there are disputed issues of fact regarding

whether the asbestos which caused the underlying claimants’ injuries falls within an exception to

the completed operations definition because it constituted “abandoned or unused” materials.

Those disputed issues of material fact would require denial of the Insurers’ motion on the

completed operations issues even if an exposure-only trigger were erroneously applied in this

case. A proposed Order denying the Insurers’ motion is attached hereto.

I.         COUNTERSTATEMENT OF FACTS

            A.     The Relevant Policy Language Extends Coverage To Liabilities Arising
                   Out of Bodily Injury During The Policy Period, Regardless Of When The
                   Event Causing That Injury Took Place
           The central question on this motion is the trigger of coverage – what is it that must

happen during the policy period in order to trigger the insurance company’s obligation to

respond to the loss? Under the most basic principles of insurance law, the “first stop” in the

search for that answer is the language of the insurance policies themselves. Yet, after quoting

some – but not all – of the relevant policy language on the trigger issue in their statement of

facts, the Insurers make no further mention of that language. The reason for that omission is

simple: the plain language of the policies will not support the limitation of coverage to only

those claims involving exposure to asbestos during the policy period. Under that language, the

only timing issue relevant to trigger is whether bodily injury took place during the policy period.

At the very least, that language does not unambiguously provide for an exposure-only trigger,

precluding summary judgment on that issue.




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                   1.      The Primary Policies
       Nation Union issued four primary comprehensive general liability (“CGL”) policies to

Porter-Hayden covering the policy periods from April 1, 1984 through April 1, 1988.1 The basic

insuring agreement of each of these policies promises to pay on behalf of Porter-Hayden all sums

which Porter-Hayden becomes legally obligated to pay caused by bodily injury:

           The company will pay on behalf of the insured all sums which the insured
           shall become legally obligated to pay as damages because of

           A. bodily injury. . . .

           To which this insurance applies, caused by an occurrence.
N.U. App., Tabs 2-5. Both “bodily injury” and “occurrence” are defined in the policy. While

those definitions require that “bodily injury” take place during the policy period, there is no

concomitant limitation on the timing of the occurrence that results in that bodily injury:

           Bodily Injury means bodily injury, sickness or disease sustained by any
           person which occurs during the policy period, including death at any time
           resulting therefrom
                                             ***

           Occurrence means an accident, including continuous or repeated exposure
           to conditions, which results in bodily injury or property damage neither
           expected nor intended from the standpoint of the insured.
Id.




1
       The Appendix hereto will be cited to as “App.,” followed by the tab letter of the
referenced exhibit. Exhibits to National Union's and American Home's Joint Motion for
Summary Judgment will be cited to as “N.U. App.,” followed by the referenced tab number.
        Policy No. GLA 152 41 65 RA covers the policy period from April 1, 1984 through
April 1, 1985 (attached as Tab 2 to the Appendix of Exhibits to National Union's and American
Home's Joint Motion for Summary Judgment (“N.U. App.”); Policy No. GLA 194 03 85 RA
covers the policy period from April 1, 1985 through April 1, 1986 (id., Tab 3); Policy No. GLA
180 33 46 RA covers the policy period from April 1, 1986 to April 1, 1987 (id., Tab 4); and
Policy No. GLA 501 05 70 RA covers the policy period from April 1, 1987 to April 1, 1988 (id.,
Tab 5).



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           The primary policies provide $1,000,000 in coverage for each occurrence. For

certain specified types of liabilities, the coverage also is subject to an aggregate limit of

$1,000,000. Id. Regardless of the number of separate occurrences or claimants, for those types

of coverage subject to the aggregate limit, National Union’s obligations end when it has paid

$1,000,000 in settlements or judgments relating to that coverage. The only type of bodily injury

liabilities subject to the aggregate limit are those arising out of the “products – completed

operations coverage.” Id. Thus, for those bodily injury claims which fall under the policies’

product-completed operations hazard, National Union’s coverage is limited to a total of

$1,000,000; for those that do not, there is no aggregate limit, and National Union is obligated to

provide coverage up to the $1,000,000 per occurrence limit on each such claim.

           The completed operations hazard is defined in the policies as follows:

           “Completed operations hazard” includes bodily injury and property
           damage arising out of operations or reliance upon a representation or
           warranty made at any time with respect thereto, but only if the bodily
           injury or property damage occurs after such operations have been
           completed or abandoned and occurs away from premises owned by or
           rented to the named insured. “Operations” include materials, parts or
           equipment furnished in connection therewith.
Id. The policy provides that operations shall be deemed complete at the earliest of three points:

(1) when all operations to be performed under the contract have been completed; (2) when all

operations to be performed by or on behalf of the named insured have been completed; or

(3) when the portion of the work out of which the injury or damage arises has been put to its

intended use by any person or organization other than another contractor working on the same

project. Id. In addition, operations which require further service, maintenance or correction, but

which are otherwise complete, are to be deemed completed. Id.

           There are several exceptions to the completed operations hazard, one of which is

significant for purposes of this motion. The policy provides that the completed operations




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hazard does not include bodily injury or property damage arising out of “the existence of tools,

uninstalled equipment, or abandoned or unused materials.” Id. Bodily injury claims relating to

such materials thus do not fall within the terms of the hazard, and are not subject to an aggregate

limit of liability.

                      2.   The Excess Policies
             The other National Union/American Home policies at issue here are three excess

policies covering the policy periods from July 11, 1975 to January 1, 1978.2 The first two of

these policies “follow form” 3 to an underlying umbrella excess policy sold to Porter-Hayden by

St. Paul Fire & Marine Insurance Company (“St. Paul”) (attached hereto as Tab A to the

Appendix To Porter-Hayden Company’s Opposition To National Union And American Home’s

Joint Motion For Partial Summary Judgment (“App.”). The last follow form to an underlying

umbrella excess policy sold to Porter-Hayden by First State Insurance Company (“First State”).

Those policies, in turn, were excess to the primary layer of coverage.

             Like the later National Union primary policies, the policies underlying the American

Home and National Union excess policies require that bodily injury – not the occurrence which

results in that injury – take place during the policy period. Indeed, in addition to containing the

same definitions of “bodily injury” and “occurrence” as those set forth above, the St. Paul policy

in particular contains the following “Policy Period – Territory” provision, clearly stating that the

only relevant “timing” question is whether there has been bodily injury during the policy period:

2
        American Home Policy No. CE2751098 covers the policy period from July 11, 1975 to
July 11, 1976 (N.U. App., Tab 6); National Union Policy No. 1186636 covers the policy period
from July 11, 1976 to May 26, 1977 (id., Tab 7); and National Union Policy No. 1186790 covers
the policy period from May 26, 1977 to January 1, 1978 (id., Tab 8).
3
        When a policy “follows form,” its terms and conditions, to the extent not otherwise
stated, mirror those of another policy as stated, normally of the policy insuring the insured in the
level of coverage directly below that of the insurer following form. See, e.g., Perdue Farms, Inc.
v. Nat’l Union Fire Ins. Co. of Pittsburgh, Pa., 197 F. Supp. 2d 370, 374 n.7 (D. Md. 2002).



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           This policy applies to personal injury, property damage, or advertising
           offense which occurs anywhere during the policy period.
App., Tab A (St. Paul Policy No. 519XA5044), at Bates-numbered page PHIC 49520.4

            B.     The Policy Drafters Expressly Rejected An Exposure-Only Trigger And
                   Proration of Coverage
           Standard-form insurance policy provisions such as those at issue here are drafted by

industry organizations called rating bureaus. The use of standard language, rather than language

drafted by each individual insurer, benefits the insurance industry by, among other things,

providing a homogenous database for the analysis of losses essential to rate making, controlling

underwriting and marketing of policies, and simplifying the process of underwriting and selling

reinsurance and excess insurance. See generally App., Tab B (Affidavit of Richard E. Stewart

(“Stewart Aff.”)), ¶¶ 15-20. Committees of the various rating bureaus charged with the task of

developing policy language create a large written record generally referred to as the “drafting

history,” which reflects their interpretations, intent and expectations with respect to the policy

provisions they drafted. Id., ¶¶ 26-30. In this case, the drafting history of the standard form

CGL occurrence policy shows both that the drafters understood that the standard-form policy

language at issue here did not limit coverage to the period of exposure, and that it would allow a

policyholder to seek coverage under any triggered policy to the full extent of limits, without the

requirement of proration of the loss among triggered policies.

           Early CGL policies required that the underlying claimant’s injury be “caused by

accident,” which may originally have been an attempt to tie coverage to events and causes of

injury that were limited in time. Id., ¶¶ 39-42. In 1966, the American insurance industry

changed the standard CGL insurance policy from an “accident” to an “occurrence” form in order


4
       The St. Paul policy defines “personal injury” to include “bodily injury, mental injury,
mental anguish, shock, sickness [and] disability.” App., Tab A (St. Paul Policy No.
519XA5044), at Bates-numbered page PHIC 49522.



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to make clear that it would respond to liability for injury taking place over extended periods of

time. Under that form language, as set forth above, coverage was tied not to the event which

caused the injury, but to the suffering of injury or damage itself. The main reason for that

change was competitive; the major American insurers wanted to match policies offered by

Lloyds of London and a few American insurers that were broader than the standard form

accident policies. Id., ¶¶ 43-47.

             During the approximately twenty years of drafting history leading to the adoption of

the occurrence language, the insurance industry experts who drafted the new standard form

understood that if the policy clearly responded to injury over time, a series of policies would be

triggered. They also knew that, unless the policy contained a provision to the contrary, the limits

of those policies would add up or cumulate. For example, in 1961, one of the members of the

Joint Drafting Committee noted that occurrence policies presented “two basic problems,” one of

which was cumulation of liability under all triggered policies. Id., ¶ 56, Ex. 2, at 2. The drafters

tried at least four different restrictive wordings, including proposals both to limit coverage to the

last year of exposure and to prorate the damages over the years of injury. In 1959, in fact, the

drafters devoted a two-day meeting to the issue, the minutes of which show that objections were

raised to each of the proposals under consideration – including a last-exposure trigger and

proration:

             The Subcommittees resumed discussion of the intent of “caused by
             accident” vs. “occurrence” as respects Products Liability. At the
             February 3-4, 1959 meeting the subcommittees considered and agreed to
             discuss with their claims people the following approaches to when an
             “accident” should be considered as having taken place in order to avoid
             duplication of coverage for a single accident under more than one policy:

             (1) The date the inured party institutes the claim,

             (2) The date the injury manifests itself, and

             (3) The last day of the last exposure to the condition causing the injury.


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           In opening the discussion, a member suggested a fourth approach that the
           accident be pro rated over the period of the exposure i.e. the length of the
           exposure would apply rather than a specific date. Various companies
           covering within the exposure period would pro rate the total claims.

           After a lengthy discussion on the various approaches the meeting agreed
           to consider each approach by listing the objections.

           The objections were:

           1. When the Claim is Brought

               a)      Injury may be in one policy period and claim in another policy
                       period (this is foreign to the insurance concept.)

               b)      Possibility of collusion

           2. Date Injury Manifestes [sic] Itself

               a)      Inconsistent with what we mean by “caused by accident[.]”
                       This approach may not be adaptable to the “sudden” accident
                       e.g. a stairway accident resulting in a back injury which does
                       not manifest itself for six months.

           3. Last Day of Exposure

               a)      Principal exposures would often be in other policy period

               b)      Not possible to determine when the policy coverage terminates

           4. Pro Rate

               a)      General objectionable, even with language of the following
                       type to prevent pyramding [sic] of claims and limits: “but in
                       no event shall the coverage be in excess of the highest limits
                       under any policy individual [sic] covering the accident.”
Id., ¶ 58, Ex. 7 at 1-2 (emphasis added). The meeting concluded that none of the four proposals

would accomplish the desired result. Id.

           While the standard CGL form was being revised, Liberty Mutual introduced an

“amendatory endorsement” for its own CGL policies, occasionally picked up by other

companies, that effectively used the last injurious exposure as the trigger of coverage. Id., ¶ 66.

The endorsement accomplished that by providing that all injury caused by an injurious exposure




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spanning more than one policy period “shall be deemed to occur only on the last day of the last

exposure.” Id., Ex. 12. See also id., Ex. 13. Significantly, this language was not included in the

final version of the standard form CGL policy. Id., ¶ 69.

           The drafters clearly understood not only that coverage would be triggered under the

occurrence form by injury during the policy period, but also that the policy language did not

provide for dividing or prorating coverage among triggered policies. In 1958, the General

Liability Rating Committee, to which the drafters reported, was asked, “suppose injury occurs

during two policy periods, shall both policies apply and if so shall limits of both policies apply

with damages pro rated or the limits under one policy apply with damages pro rated.” Id., ¶ 72,

Ex. 14 at 4. The Committee responded that, “it was possible for more than one policy to be said to

apply to an injury in cases where the injuries occur during more than one policy period,” but that

“nothing could be done about this, that the situation had to exist if companies were to avoid

placing of renewals in different companies in order to obtain the application of separate limits.”

Id., ¶ 73, Ex. 15 at 5. Five years later, George Katz, one of the three drafters of the occurrence

form, noted that “prorating cannot be effectuated between the insurer and the claimant.” Id., ¶ 75,

Ex. 16 at 11. Finally, when the standard occurrence form was about to go on the market in 1965,

another of its drafters noted that it purposely did not provide for pro-ration: “there is no pro-ration

formula in the policy, as it seemed impossible to develope [sic] a formula which would handle

every possible situation with complete equity.” Id., ¶ 76, Ex. 17 at 6.

            C.     Asbestos Bodily Injury Is Progressive And Continuous From First
                   Inhalation Through At Least Manifestation Of Those Injuries,
                   Regardless Of The Period Of External Exposure
           National Union’s argument for an exposure trigger suggests that the event which

triggers coverage under the plain policy language – bodily injury – takes place only while the

claimant is exposed to and inhales an external source of asbestos. That argument, however, is at




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odds with the medical reality of asbestos injury. At the very least, the medical evidence of the

nature and progression of asbestos injury raises question of fact material to the issue of whether

policies in place after external exposure to asbestos ends, but before manifestation of any injury,

must respond to the underlying asbestos bodily injury claims.

           Asbestos fibers, once inhaled, repeatedly cause injury to tissue at the cellular and

molecular level. See App., Tab C (Affidavit of Edward Gabrielson, M.D. (“Gabrielson Aff.”)),

¶ 5. The diseases resulting from asbestos exposure and inhalation, including asbestosis, non-

malignant pleural diseases, and asbestos-caused cancers, all result from multiple and virtuously

continuous injuries. These injuries begin well before patients present with symptoms. Id.

           Asbestosis, for example, is initiated by specialized “caretaker” cells in the lungs,

known as macrophages, ingesting asbestos fibers. Id., ¶ 17. The macrophages release oxygen

free radicals and biologically active cytokines, such as platelet-derived growth factor (PDGF), in

response to these ingested fibers. Id., Both of these substances contribute to fibrosis, or scarring

of the lungs. Thus, asbestosis is a permanent disease that is the cumulative manifestation of

multiple injuries at the cellular level, which have occurred in multiple locations throughout the

lungs and over a period of many years, causing scarring of the lung tissue. Id., ¶ 22.

           These injuries begin very soon after initial inhalation of asbestos fibers. Id., ¶ 22.

Additional injuries occur as a result of new fibers being inhaled by an individual, leading to

additional fibrosis and advancement of the disease process. Id., Most significantly for purposes

of this motion, however, because asbestos fibers are chemically stable, additional injuries also

occur as a result of fibers that persist in lung tissue after external exposure has ceased. As Dr.

Gabrielson states, “it is important to recognize that asbestosis can progress in severity even after

inhalation of new fibers by an individual has ceased, as a result of residual fibers in the lungs

causing new injuries.” Id., ¶ 24. Consequently, beginning with the first inhalation of asbestos,




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and continuing for the remainder of life, an individual who has inhaled asbestos fibers

continuously suffers injuries. Id., ¶ 22.

           In addition to scarring of the lung tissue, leading to asbestosis, asbestos fibers also

cause injury to lung membranes, called the pleura. Id., ¶ 25. Scarring of the pleura can restrict

pulmonary function. Id. Injuries to the pleura also can cause fluid to leak into the pleura space,

ultimately resulting in a pleural effusion. Asbestos pleural effusions can occur within the first

decade of exposure to asbestos, or at a later date. A pleural effusion, when large, can decrease

lung volume and restrict pulmonary function. Pleural scarring develops in a manner similar to

the development of asbestosis: macrophages are penetrated by asbestos fibers, produce

cytokines in response to this injury, and thus stimulate adjacent fibroblasts to proliferate and

produce collagen. Id., ¶ 27. As with asbestosis, pleural fibrosis is irreversible. Also as with

asbestosis, pleural fibrosis and related pleural disease develop over a prolonged period of time,

as a result of numerous, continuous injuries to the pleura at the cellular level from both newly-

inhaled asbestos, and asbestos already in residence in the lungs. Id., ¶ 29.5

           Asbestos also is well recognized to be an important cause of cancer, most notably,

mesothelioma and lung cancer. Asbestos produces critical genetic changes required for the

production of cancerous cells by physically and chemically injuring chromosomes. This injury

results in chromosomal breaks and rearrangements. Id., ¶ 36. In addition, asbestos injury

contributes to the carcinogenesis process by functioning as a tumor promoter, both by

stimulating cells, including the genetically altered cells, to replicate, and by resulting in


5
        Yet another form of pleural disease caused by asbestos is pleural plaque. Pleural plaques
are dense, flat nodules of scar tissue that generally occur on the parietal pleura (i.e., the
membrane that covers the inner surface of the chest wall) or the top of the diaphragm. The
mechanism by which pleural plaques develop is not well understood, but it is generally thought
to involve response of fibroblasts to growth factors produced by macrophages that are injured by
asbestos fibers. Id., ¶ 30.



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cytotoxicity (cell killing) to some cells, with a greater cytotoxic effect on normal cells than on

cells with genetic alterations related to cancer. Id., ¶ 37.

           Many years – typically 20 to 50 – are required for the development and growth of a

clinically recognized cancer after the onset of asbestos exposure. Id., ¶ 39. This long latency

period is largely a result of the lengthy carcinogenesis processes, which requires multiple genetic

alterations and selective expansions of the genetically altered cell populations. Id., In addition,

there is a lengthy period of time required for the expansion of a single fully malignant cell to a

clinically relevant tumor, which typically has approximately one million million cells. Id., ¶ 40.

Injury to an individual with cancer does not cease when a malignant cell arises from the

carcinogenesis process. Id., ¶ 43. In fact, as a cancer grows and invades surrounding normal

tissue, additional injuries occur. Id., Thus, the clinical disease of cancer is ultimately a

manifestation of multiple asbestos injuries that occurred over many years prior to diagnosis. Id.,

¶ 42.

           Although Maryland courts have not had occasion to explain the entire, progressive

nature of asbestos-related diseases, the courts have commented upon the nature of asbestos-

related diseases. For instance, although the parties in Wallace & Gale stipulated to some effects

of the disease, the Fourth Circuit addressed the issue:

               Maryland courts have held that asbestos-related injury begins with
           exposure, carries forward while the asbestos fibers are in residence and
           continues through to manifestation of the disease. The parties, moreover,
           have stipulated that it cannot be said with certainty when injury actually
           occurs or to what degree. Quite possibly, therefore, actual injury could
           occur in whole or part during any one or more policy periods, including
           those coming after Wallace & Gale completed its operations.6




6
        See Wallace & Gale, 385 F.3d at 828.



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           Additionally, the Court in Mitchell noted that a bodily injury related to an asbestos-

related disease takes place during any localized abnormal condition of the living body. See

Mitchell, 324 Md. at 59, 595 A.2d at 476. Further, the Court confirmed its understanding that,

“once inhaled, ‘asbestos fibers cause physical and biochemical injuries to the cells of the lung at

or shortly after inhalation.’” 324 Md. at 60, 595 A.2d at 477, citing Zurich Ins. Co. v. Raymark

Indus., 514 N.E.2d 150, 159-60 (1987). That Court found that injury takes place “when asbestos

fibers are inhaled and retained in the lung.” Id. Further, the Mitchell Court noted that, “cases

recognize from the medical evidence that inhalation of asbestos fibers starts the injurious chain

of events which may culminate in asbestos-related disease.” 324 Md. at 61, 595 A.2d at 477,

citing Keene Corp. v. Ins. Co. of North America, 667 F.2d 1034, 1047 (D.C. Cir. 1981), cert.

denied, 455 U.S. 1007 (1982) (“Keene”). Significantly, however, none of the experts who

submitted affidavits in Mitchell offered the opinion that additional asbestos-related bodily injury

takes place as a result of “exposure in residence” to the already-inhaled asbestos after additional

external exposure to asbestos has ceased. Mitchell, 324 Md. at 64-68, 595 A.2d at 478-81

(Appendix A to decision).

            D.     Porter-Hayden Operations Giving Rise To Asbestos Claims
           Porter-Hayden’s operations began in the 1920s, when it operated as an industrial

insulation contractor. The company both sold and installed asbestos-containing insulation until

the mid-1970s. Even after it stopped selling and installing asbestos-containing insulation,

however, it did not cease operations which are alleged to have resulted in the release of asbestos-

containing materials. Until it ceased operations altogether in 1989, for example, Porter-Hayden

continued to perform “tie-ins,” a process of installing non-asbestos-containing insulation in

locations that already had asbestos insulation. In addition, the company’s operations after the

mid-1970s continued to include performing tear-outs of asbestos-containing insulation. As




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Gardner Duvall, Porter-Hayden’s corporate representative, explained, the tie-in work was

continual:

             A tie in would be part of just about any job that you ever did. Any time
             you connect the two, they – connected either with a new system or new
             installation on an old system, you know it was just – it was a day’s work
             for everybody.
N.U. App., Tab 18 (Duvall Dep.) at 232: 12 - 20.

             Duvall’s testimony is consistent with the experience of underlying claimants at job

sites well into the late-1980s. For example, two claimants, Ron Allowat, Sr. and Frank Francese,

whose affidavits are at Tabs D and E of the Appendix hereto, attest that they were present during

and witnessed ongoing Porter-Hayden operations that resulted in the release of asbestos fibers.

Allowat, for example, attests that Porter-Hayden was one of the largest outside contractors

engaged at the Sparrows Point Bethlehem Steel plant where he worked, and that “from the early

1970’s until the late 1980’s Porter-Hayden insulators were constantly at work performing

insulation work at the Steel Mill.” App., Tab D (Affidavit of Ron Allowat, Sr. (“Allowat Aff.”)),

¶ 9. Allowat further attests that the ongoing work being performed by Porter-Hayden at that time

resulted in the release of asbestos fibers:

             As indicated above, I was constantly moving throughout the Plant and am
             able to state unequivocally that the presence of Porter Hayden insulators
             going about their pipecovering, tear out and relining duties, specifically
             working with asbestos containing material, was an ongoing process
             between 1975 and 1989, unfortunately resulting in the release of asbestos
             dust at every job location. On countless occasions, I witnessed the
             replacement of asbestos containing pipecovering being performed by
             Porter Hayden on sections of pipe.
Id., ¶ 13. Similarly, Francese attests that he worked in various plant locations between 1976 and

1986, and that:

             While at those locations, I worked in the vicinity of Porter Hayden
             employees removing asbestos-containing materials. The removal of these
             materials created visible dust on a regular basis which I and all others in
             the vicinity breathed.


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App., Tab E (Affidavit of Frank Francese (“Francese Aff.”)), ¶ 9.

           Those affidavits are consistent with Duvall’s testimony that the tie-in operations

continued, and likely resulted in the release of asbestos fibers, until Porter-Hayden ceased

operations in 1989:

           Q: All right. Just for the record, can you give us your definition of what a
           tie-in operation consisted of?

           A: Essentially you’re looking at work in a facility that has operational
           systems in place already. So either the owner of the facility would put in
           new systems or would have a need for new insulation on old systems, and
           any place that new insulation had to join existing insulation, you had to tie
           them together.

           Q. How were asbestos fibers released during such an operation, if at all?

           A. I’m not sure I can give you any more detail, except to say that the
           manipulation of in-place asbestos insulation might release fibers.

           Q. Well, is there a way to tie in to an existing system without releasing
           asbestos fibers?

           A. I am not an insulator, I really don’t – I don’t know the answer to that
           question. I don’t know that anybody who has ever had an executive
           position with Porter-Hayden could answer that question.

           Q. Well, is it fair to say, based on your knowledge, that in planning or
           performing a tie-in operation involving a preexisting asbestos containing
           system that one would anticipate that asbestos fibers would be released?

           A. It certainly is the testimony from the experts in the tort litigation that
           it’s essentially impossible to do any kind of manipulation of asbestos-
           containing insulations without liberating fibers.

           Q. Do you agree with that?

           A. I don’t know of anyone who disagrees with it.

           Q. Does Porter-Hayden agree with that?

           A. I don’t know that Porter-Hayden has a way to disagree. I mean, at the
           lowest levels of release, it’s a completely invisible process. So, you know,
           unless you can prove that – sometimes by air sampling, there was no
           release and go on and prove in all instances there was no release, it




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           becomes kind of pointless to argue about whether or not it’s possible. You
           don’t have the evidence to show that it’s impossible.

           Q. Did Porter-Hayden perform any tie-in operations, as you’ve defined
           them, involving a preexisting asbestos material between April 1984 and
           April 1986?

           A. Given the documents in the insurance underwriting, you could only
           conclude they did.

           Q. Other than those documents, are you aware of any documentary
           evidence?

           A. No.

           Q. Are you aware of any deposition testimony given by any Porter-
           Hayden or union employees or anybody else about a tie-in operation that
           was performed during that time period?

           A. The testimony doesn’t get really that focused. Unless you were
           building something from scratch, a tie-in would be part of just about any
           job that you ever did. Any time you connect the two, they – connected
           either with a new system or new installation on an old system, you know, it
           was just – it was a day’s work for everybody. They testified about their
           doing work, not particularly about tying in.
N.U. App., Tab 18 at 229: 11 - 232: 21 (emphasis added).

           As a result of these activities, Porter-Hayden has now been sued in tens of thousands

of underlying asbestos bodily-injury actions, which it has submitted to the Insurers for payment.

                                          ARGUMENT

I.         THE STANDARDS OF REVIEW
           There are two sets of standards crucial for the review and resolution of the Insurers’

motion. First is the standard for the burden of proof. Contrary to the Insurers’ disingenuous

attempt to shift the burden of proof to Porter-Hayden, the Insurers bear the burden of establishing

as a matter of law and undisputed fact that all of the underlying claims fall within the completed

operations hazard as they assert. Second, the Insurers’ motion requires the Court to apply

Maryland substantive insurance law to determine whether there are disputed issues of material

fact regarding the scope and application of the insurance policies at issue. Yet the standards for



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the interpretation and application of insurance policy language under Maryland law are given but

passing mention, and no real application, in the Insurers’ brief.

             A.     The Insurers Bear The Burden Of Proof On This Motion For Summary
                    Judgment And On The Applicability Of The Aggregate Limit Of
                    Liability
             The Insurers argue at length in their brief that Porter-Hayden “cannot meet their

burden of proving an entitlement to coverage under any of the National Union or American

Home insurance policies,” and that it “cannot prove, even if some number of claims are shown to

trigger a policy’s coverage, that those claims should not fall under the aggregate limit.” That

argument turns the burden of proof on this motion for summary judgment on its head. The

Insurers, as the parties seeking summary judgment, have the burden of proving their entitlement

to the judgment they seek – both with respect to their assertion that none of the underlying

claims trigger their policies, and their assertion that all claims which do trigger the policies fall

under the aggregate limit applicable to the completed operations hazard. See Bouchat v.

Baltimore Ravens Football Club, Inc., 346 F.3d 514, 522 (4th Cir. 2003) (“Regardless of

whether he may ultimately be responsible for proof and persuasion, the party seeking summary

judgment bears an initial burden of demonstrating the absence of a genuine issue of material

fact.”).

             Moreover, the Insurers’ assertion that Porter-Hayden ultimately will bear the burden

of proving which claims, if any, fall under the completed operations hazard, is erroneous. As set

forth herein, the policies are triggered by bodily injury during the policy period, not exposure;

accordingly, because asbestos continues to cause new bodily injuries from the first date of

exposure through manifestation even if external exposure to asbestos has ceased, Porter-Hayden

need not show that there has been an exposure during the policy period in order to meet its

burden of showing that the policies are triggered. Rather, any claim that involves exposure to




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asbestos prior to the policy period through manifestation will trigger the Insurers’ policies.7 It

will then be up to the Insurers, if they can, to show that the claim in question falls within the

limitation of coverage imposed by the aggregate limits applicable to the completed operations

coverage.

            Whether written as a complete exclusion to coverage or as a limitation on the

otherwise non-aggregated nature of the policies in question, the completed operations hazard

definitions in these policies act as a limitation on coverage. As such, the Insurers bear the

burden of proving their applicability. See generally Warfield-Dorsey Co., Inc. v. Travelers Cas.

& Sur. Co. of Ill., 66 F. Supp. 2d 681, 689 (D. Md. 1999) (holding that insurers have burden of

proving any exclusions or coverage limitations within the policy); Finci v. Am. Cas. Co. of

Reading, Pa., 323 Md. 358, 394, 593 A.2d 1069, 1087 (1991).8 Even if a provision that limits or

excludes coverage is included with the provisions allegedly providing coverage, such as the

completed operation hazard definition at issue, that provision is considered an exclusion or

limitation that must be proven by the insurer, because it limits available coverage for a certain

type of loss. See Mut. Fire Ins. Co. of Calvert County v. Ackerman, 162 Md. App. 1, 872 A.2d

110, 113 (2005) (insurer had burden of proving that a building was not a “dwelling,” even

though that term was used in the section granting coverage, because the allegation was in the

nature of an affirmative defense); Carter-Wallace, Inc. v. Admiral Ins. Co., 712 A.2d 1116, 1127

(N.J. 1998) (“We agree that exclusions do not shed their essential character when they are moved

7
        Notably, the Insurers do not suggest that they can establish as a matter of law and
undisputed fact that none of the underlying claims involve exposure only prior to their policy
period, or only prior to the cessation of Porter-Hayden’s operations.
8
         See, e.g., 29A Am. Jur. § 1854 (1962) (“[T]he principle generally applied by the courts is
that if proof is made of a loss apparently within a contract of insurance, the burden is upon the
insurer to prove that the loss arose from a cause of loss which is excepted or for which it is not
liable, or from a cause which limits its liability.”) (quoted in Sachs v. Am. Cent. Ins. Co., 230
N.Y.S.2d 126, 128-129 (N.Y. Sup. 1962), aff’d, 238 N.Y.S.2d 508 (N.Y. App. Div. 1963)).



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from one section of a policy and are crafted as part of that policy’s grant of coverage. We

therefore decline to adopt a rule of law governing burden of proof the application of which

would depend merely on the location of a provision in an insurance contract.”). See also Keene,

667 F.2d at 1052, n.42 (insurer bears burden of proving that underlying asbestos claim did not

trigger its policy period; “We recognize that the insured generally bears the burden of proving

coverage. The injuries at issue in these cases, however, are unique and traditional procedural

rules cannot be allowed to defeat Keene's or its insurers’ substantive rights under the policies.”).

           Accordingly, as both a matter of procedural summary judgment law and substantive

Maryland insurance law, the Insurers bear the burden of proving which underlying claims, if any,

are subject to the aggregate limits of the completed operations hazard.

            B.     Under Maryland Law, The Court Must Interpret Insurance Policy
                   Language In Accordance With The Parties Intentions And Expectations
           The Insurers give but short shrift to the standards under Maryland law for the review

of insurance policy language, and then wholly fail to apply those standards. The reason for that

omission is clear: under the review required by Maryland courts, there are, at the very least,

disputed questions of fact regarding whether the strained construction for which the Insurers

argue can stand.

           The methods, criteria and standards for determining the proper scope of insurance

policy language were directly addressed and discussed at length by the Maryland Court of

Appeals in Sullins. The Sullins starting point, of course, is the basic rule of Maryland insurance

law that insurance policies “are construed as a whole to determine the parties’ intentions,” and

that, in that construction, “words are given their customary, ordinary and accepted meaning.”

340 Md. at 508, 667 A.2d at 619, citing Cheney v. Bell Nat’l Life, 315 Md. 761, 766-67, 556

A.2d 1135, 1138 (1989). But the Court in Sullins also recognized three essential corollaries to

that basic rule. First, the Court held that a word’s “ordinary” meaning is that which a reasonably



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prudent layperson would attach to the term: “If the language in an insurance policy suggests

more than one meaning to a reasonably prudent layperson, it is ambiguous.” Id., citing Bausch

& Lomb, Inc. v Utica Mut. Ins. Co., 330 Md. 758, 779, 625 A.2d 1021, 1031 (1993). Second, the

Court recognized that the determination of whether policy language is ambiguous cannot be

made in a vacuum simply by looking at whether the words used are “clear.” Rather, the question

is whether the language is reasonably susceptible of two meanings with respect to the specific

underlying claim at issue: “A term which is clear in one context may be ambiguous in another.”

Id., citing Tucker v. Fireman’s Fund Ins. Co., 308 Md. 69, 74, 517 A.2d 730, 732 (1986) and

Bentz v. Mut. Fire, Marine & Inland Ins. Co., 83 Md. App. 524, 537, 575 A.2d 795, 801 (1990).

Finally, the Court reaffirmed the longstanding Maryland rule that if an ambiguity exists which is

not resolved by resort to extrinsic or parol evidence, “it will be construed against the insurer as

the drafter of the instrument.” Sullins, 340 Md. at 509, 667 A.2d at 619, quoting Cheney, 315

Md. at 766-67, 556 A.2d at 1138.

           Moreover, the factors used by the Sullins Court in applying these standards are

instructive here. First, the Court recognized that the fact that other courts have interpreted the

policy language in more than one way should be considered on the question of ambiguity:

               We hold that conflicting interpretations of policy language in judicial
           opinions is not determinative of, but is a factor to be considered in
           determining the existence of ambiguity. In interpreting an insurance
           policy, we must follow the rules of contract construction set out in part II
           of this opinion. However, if other judges have held alternative
           interpretations of the same language to be reasonable, that certainly
           lends some credence to the proposition that the language is ambiguous
           and must be resolved against the drafter.
340 Md. at 518, 667 A.2d at 624 (emphasis added).

           Second, the Court held that the history of the language, and its intended purpose,

must be considered in determining how a reasonably prudent policyholder would interpret the

language. For example, the Court noted that, because the pollution exclusion before it arose out



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of the insurance industry’s desire and repeated attempts to avoid providing coverage for claims

of environmental pollution, a reasonably prudent policyholder could conclude that it did not

extend beyond such claims:

               It appears from the foregoing discussion that the insurance industry
           intended the pollution exclusion to apply only to environmental pollution.
           That supports our conclusion that a reasonably prudent layperson may
           interpret the terms “pollution” and “contamination” in the case now before
           us as not encompassing lead paint, a product used legally and
           intentionally.
340 Md. at 515-16, 667 A.2d at 623.

           A final factor considered by the Sullins Court in analyzing the policy language was

the availability to the insurance company of language which would have put the matter beyond

dispute. Where the insurance company in question could have, but chose not to, include

language which specifically resolved the matter at issue, the Court held that failure weighs

heavily against the insurer, as drafter of the policy:

           To be sure that lead paint poisoning claims were excluded from coverage,
           Allstate could have included a provision, such as those included in [other]
           policies . . . explicitly excluding such claims.
340 Md. at 518 n. 3, 667 A.2d at 624 n. 3.

           These standards effectively are ignored by the Insurers in their brief. Indeed, the

Insurers’ desperate – and erroneous – argument that the Maryland Court of Appeals has already

adopted an exposure-only trigger of coverage reflects that fact that the Insurers are aware that

the applicable Sullins standards will not support such a trigger.

II.        THE INSURERS ARE NOT ENTITLED TO SUMMARY JUDGMENT
           IMPOSING AN EXPOSURE-ONLY TRIGGER
           As the Insurers are well aware, an exposure-only trigger is not supported by the plain

policy language, the policy drafting history, the nature of asbestos injury and the weight of recent

precedent around the country. Accordingly, in the hope of keeping this Court from recognizing




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those factual issues, the Insurers argue that the Maryland Court of Appeals in Mitchell has

already determined that an exposure-only trigger applies to asbestos bodily injury claims. The

fact that the Insurers must spend fourteen pages of their brief explaining how the Court really

meant to say “exposure only” when it said “exposure at a minimum” shows only too clearly that

their reading of Mitchell is at odds with what the Court of Appeals actually intended and held.

            A.     The Maryland Court Of Appeals Has Not Adopted An Exposure-Only
                   Trigger Of Coverage
           In Mitchell, the Maryland Court of Appeals faced two conflicting theories of how and

to what extent asbestos bodily injury claims trigger insurance policies. The insurer argued that

coverage for such liabilities is available only under those insurance policies on the risk at the

time the disease or injury becomes manifest. The policyholder originally argued that those

policies on the risk at the time of exposure to asbestos were triggered, presumably because an

exposure trigger was sufficient to provide all of the coverage it needed to respond to the

underlying claims. In support of that argument, the policyholder submitted the affidavit of a

medical expert who opined that asbestos injury commenced immediately, or nearly immediately

upon inhalation of asbestos fibers. The expert also opined, however, that injury would not

continue after exposure ceased.9 Thus, when the policyholder decided to argue for a broader

trigger of coverage, invoking every policy on the risk from first exposure to manifestation, it was

forced to concede that, “[w]ith respect to the third possible trigger, the progression of the

asbestos-related disease during the latency period between exposure and manifestation, the

9
        That opinion is contrary to the near-universal recognition in the literature and in the case
law that “asbestos-in-residence,” that is, previously inhaled asbestos, continues to cause new
injuries as long as it remains in the body. See generally App., Tab C (Gabrielson Aff.). See also
AC and S, Inc. v. Aetna Cas. & Sur. Co., 764 F.2d 968, 972-73 (3d Cir.1985); Keene, 667 F.2d
1034; Borel v. Fibreboard Paper Prods. Corp., 493 F.2d 1076 (5th Cir. 1973), cert. denied, 419
U.S. 869 (1974); Owens-Illinois, Inc. v. Aetna Cas. & Sur. Co., 597 F. Supp. 1515, 1520-21
(D.D.C. 1984); Owens-Illinois v. United Ins. Co., 650 A.2d 974, 983-84 (N.J. 1994); J.H. France
Refractories Co. v. Allstate Ins. Co., 626 A.2d 502, 506-507 (Pa. 1993).



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record in his case does not dictate adopting such a third trigger.” N.U. App., Tab 12 at 29-30.

Nonetheless, the policyholder asked the court to consider adopting such a trigger despite the lack

of a medical record for doing so “as a matter of public policy.” Id.

           Contrary to the Insurers’ strained construction, the Mitchell Court did not “reject” an

injury-in-fact or continuous trigger of coverage. Rather, the decision clearly reflects the Court’s

determination to limit its decision to the trigger that could be supported by the medical affidavits

before it, and for which the policyholder had originally argued. Indeed, when setting forth the

“clear weight of authority” rejecting the manifestation trigger for which the insurers argued, the

Court emphasized that that authority holds that, “at a minimum, coverage . . . is triggered by

exposure” (emphasis in original), and cited with approval all of the seminal cases adopting an

injury-in-fact or continuous trigger, including Keene, Lac D’iamante and Owens-Illinois:

               The trial court's determination that the policy now before us provides
           coverage only after an asbestos-related disease becomes manifest during
           the policy period is an interpretation at odds with the policy language and
           the clear weight of authority in the country. In considering the meaning of
           “bodily injury” alleged to have resulted from exposure to asbestos, a
           number of courts, after considering evidence with respect to the
           development of asbestos-related diseases, have concluded that “bodily
           injury” occurs when asbestos is inhaled into the lung, and that, at a
           minimum, coverage under the policy is triggered by exposure to the
           insured's asbestos products during the policy period. See e.g., Abex Corp.
           v. Maryland Casualty Co., 790 F.2d 119, 126 (D.C.Cir.1986); Commercial
           Union Ins. Co. v. Sepco Corp., 765 F.2d 1543 (11th Cir. 1985); AC and S,
           Inc. v. Aetna Cas. and Sur. Co., 764 F.2d 968 (3d Cir.1985); American
           Home Products Corp. v. Liberty Mut. Ins., 748 F.2d 760, 764 (2d
           Cir.1984); Keene Corp. v. Ins. Co. of North America, 667 F.2d 1034 (D.C.
           Cir.1981), cert. denied, 455 U.S. 1007, 102 S. Ct. 1644, 71 L.Ed.2d 875
           (1982); Porter v. American Optical Corp., 641 F.2d 1128 (5th Cir.1981),
           cert. denied, 454 U.S. 1109, 102 S. Ct. 686, 70 L .Ed. 2d 650 (1981); Ins.
           Co. of North America v. Forty-Eight Insulations, 633 F.2d 1212 (6th
           Cir.1980), clarified, 657 F.2d 814, cert. denied, 454 U.S. 1109, 102 S. Ct.
           686, 70 L.Ed.2d 650 (1981); Lac D'Amiante Du Quebec v. Am. Home
           Assur., 613 F. Supp. 1549 (D.N.J.1985); Owens-Illinois, Inc. v. Aetna Cas.
           & Sur. Co., 597 F. Supp. 1515 (D.D.C.1984); Zurich Ins. Co. v. Raymark
           Industries, 118 Ill.2d 23, 112 Ill. Dec. 684, 514 N.E.2d 150 (1987). These
           cases have based their determination on scientific or medical evidence that
           exposure to, and inhalation of asbestos fibers results in “bodily injury”


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           within the contemplation of the policy, even though the injury may not
           manifest itself until many years later.
324 Md. at 58-59, 595 A.2d at 476 (all emphasis in original).

           Again and again, the Mitchell Court made it clear that exposure is one possible point

at which coverage is triggered, and that its decision not to address what other trigger points

might exist resulted from the policyholder’s originally limited request, and the limited medical

evidence before the Court.10 Thus, after discussing the relevant authorities and the statements

contained in the medical affidavits, the Court held:

               Considering the plain meaning of the term “bodily injury,” as used in
           the policy, and in light of the medical evidence concerning the
           development of asbestos-related diseases, we align ourselves with the
           overwhelming weight of authority in the country and conclude that
           “bodily injury” occurs when asbestos is inhaled and retained in the
           lungs. . . . On the record developed in this case we conclude that, at a
           minimum, coverage under the policy to provide a defense and
           indemnification of the insured is triggered upon exposure to the insured’s
           asbestos products during the policy period by a person who suffers bodily
           injury as a result of that exposure.
324 Md. at 62, 595 A.2d at 478 (emphasis added).

           Similarly, in its direction to the lower court on remand, the Court again emphasized

both that exposure was just one possible triggering event, and that its holding was limited only

because the policyholder had not sought or supported – and apparently did not require – a ruling

that additional events might also trigger the policy:

               We shall, therefore, vacate the declaratory summary judgment entered
           by the trial court in the insurer’s favor and remand the case with directions
           that the court enter a declaratory judgment as sought by the insured, that
           at a minimum coverage under the policy is triggered upon exposure to and
           inhalation of asbestos fibers during the policy period by a person who
           suffers bodily injury as a result of that exposure. The judgment shall
           contain a declaration that the insurer is required to provide a defense for
           Mitchell against all personal injury asbestos-related suits brought by
           plaintiffs allegedly exposed to Mitchell's asbestos products during the

10
       Indeed, to highlight that limited evidence, the Court took the fairly unusual step of
publishing the substantive portions of the expert affidavits as an Appendix to its decision.



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           policy period, regardless of when the alleged asbestos-related injuries
           became manifest. In this regard, Mitchell is entitled to a declaration that
           the insurer pay its attorney fees, costs, and expenses incurred in litigating
           the coverage issue and in defending against the asbestos-related personal
           injury claims. The judgment must also contain a declaration that the
           insurer shall indemnify Mitchell, within policy limits, for the amount of
           any judgments rendered against it, or which it may become legally
           obligated to pay in connection with the asbestos-related claims.
324 Md. at 63, 595 A.2d at 478 (emphasis added).

           There simply is no way to construe Mitchell as holding that exposure is the only

event that will trigger coverage for asbestos bodily injury claims.11 Had the Maryland Court of

Appeals intended to adopt an exposure-only trigger, it had the repeated opportunity to say so.

Instead, at every one of those opportunities, it coupled its reference to the exposure trigger with

the clear indication that exposure is merely one event that can trigger coverage for asbestos

bodily injury claims. Indeed, the Court emphasized that the court below had erred not in holding

that coverage was triggered by manifestation, but in holding that coverage could only be

triggered by manifestation: “we hold that the trial judge erred in adopting, as the sole trigger of

coverage, the ‘manifestation’ trigger of coverage.” 324 Md. at 62, 595 A.2d at 478.

           If the Insurers’ interpretation of Mitchell is strained, their depiction of the “next

chapters” in the trigger “story” borders on the disingenuous. The Insurers suggest that Owens-

Illinois, Inc. v. Armstrong, 326 Md. 107, 604 A.2d 47 (1992) (“Armstrong”) and John Crane,

Inc. v. Scribner, 369 Md. 369, 800 A.2d 727 (2002) (“Crane”) “confirm” that Mitchell adopted

an exposure-only trigger of insurance coverage. The biggest problem with that analysis is that

neither Armstrong nor Crane has anything to do with the trigger of coverage under an insurance

policy. Instead, both of those cases addressed the question of when a cause of action for asbestos

11
        Indeed, at least one commentator has stated that, in Mitchell, the Court of Appeals
“abandoned the ‘manifestation’ theory for determining when a policy is triggered and replaced it
with the ‘injury-in-fact’ theory.” Lee H. Ogburn, “The Progression Of Trigger Litigation in
Maryland -- Determining The Appropriate Trigger Of Coverage, Its Limitations, and
Ramifications,” 53 Md. L. Rev. 220, 220 (1994) (emphasis added).



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injury first arises, in order to determine whether the causes of action in question had arisen

before the effective date of a Maryland statute limiting recovery of non-economic damages. See

Md. Code Ann. § 11-108 (2005) (limiting recovery of damages other than economic damages in

actions for bodily injuries where the cause of action arose on or after July 1, 1986). Thus, the

only issue in those cases was the date of first injury; not the second, third or one hundredth.12

The opinions’ citation to Mitchell for the proposition that a claimant’s first asbestos bodily injury

coincides with his or her first exposure neither negates nor even addresses whether additional

bodily injuries occur after that first injury, and whether those additional injuries entitle the

policyholder to coverage from the insurance companies on the risk when those additional injuries

are suffered.

           Thus, contrary to the Insurers tortured attempts to show otherwise, the Maryland

Court of Appeals has not adopted an exposure-only trigger with respect to asbestos bodily injury

claims. Indeed, as set forth below, there are, at the very least, significant questions of fact

regarding whether such a trigger is supportable given the basic rules of Maryland insurance law

and the nature of asbestos injury.

            B.     As Courts Throughout The Country, Including The Maryland
                   Intermediate Appellate Court, Have Held, The Policies Are Triggered By
                   Injury During The Policy Period
           Strangely – or perhaps not so strangely – while the Insurers spend pages discussing

cases which do not address the proper trigger of coverage under a comprehensive general

liability policy, they simply choose to ignore the fact that the Maryland intermediate appellate




12
         For that reason, the Insurers’ statement that, “by the time the Court of Appeals addressed
Crane, the continuous injury trigger was not even under consideration,” misses the point entirely.
The Crane court was involved in a search for the first injury, and thus considered only whether
that first injury should be identified with exposure, manifestation or injury-in-fact.



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court has, in fact, applied an injury-in-fact or continuous13 trigger to long-tail, asbestos-related

damage claims. In Mayor & City Council of Baltimore v. Utica Mutual Insurance Co., 145 Md.

App. 256, 301-307, 802 A.2d 1070, 1097-1100 (2002) (“Utica Mutual”), a case decided eleven

years after Mitchell, the Maryland intermediate appellate court addressed the proper trigger of

coverage for asbestos property damage claims. The Utica Mutual court considered each

potential trigger method, and was quite specific in its holding: “[w]e reject trigger theories that

are based exclusively on exposure to harm or manifestation of injury.” 145 Md. App. at 302,

802 A.2d at 1098. The Court went on to note that:

              Neither the initial exposure (in this case the installation of asbestos in the
              City’s [buildings]), nor the discovery (manifestation) of the injurious
              effects of [asbestos containing building materials], comports with the
              “occurrence” language of the CGL policies which is predicated in part on
              “the continuous or repeated exposure to conditions” that is implicated by
              the continuing presence of asbestos in the City’s buildings.
145 Md. App. at 303, 802 A.2d at 1098 (emphasis added).

              Similarly, in Harford County v. Hartford Mutual Insurance Co.¸ 327 Md. 418, 435-

36, 610 A.2d 286, 294 (1992) (“Harford”), the Court rejected insurer assertions that

environmental property damage claims triggered only those policies in effect at the time the

property damage became known to the policyholder. In so doing, it specifically noted that

coverage would be triggered under any policy in place during a period when property damage

took place:



13
        Any theoretical difference between an injury-in-fact trigger and a continuous trigger has
no practical meaning in the context of asbestos bodily injury claims. “In the context of
continuous or progressively deteriorating injuries, the injury-in-fact trigger, like the continuous
injury trigger, affords coverage for continuing or progressive injuries occurring during
successive policy periods subsequent to the established date of the initial injury-in-fact.”
Montrose Chem. Corp. v. Admiral Ins. Co., 913 P.2d 878, 894 (Cal. 1995) (“Montrose”). Given
the continuous, indivisible nature of asbestos bodily injuries, the injury-in-fact and continuous
triggers are effectively the same with respect to claims arising from such injuries.



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           Nothing in the language of the policies, affording words their ordinary and
           accepted meanings, requires that the claimed property damage actually be
           discovered or manifested during the policy period; rather, it is whether
           property damage, as defined in the policies, “occurred” within the policy
           period and within the meaning of the word “occurrence” in the policies.
327 Md. at 435, 610 A.2d at 294.

           The Utica Mutual and Harford rejection of an exposure-only trigger comports with

the policy language. As set forth above, the plain policy language specifically contemplates that

an “occurrence” may be a continuous or repeated event. It therefore explicitly ties the trigger of

coverage not to the event which caused the bodily injury at issue, but to the bodily injury itself.

By their very terms, the Insurers’ policies promised to respond to claims arising out of bodily

injury during the policy period, regardless of when the causative event leading to that injury

takes place. Given the nature of asbestos bodily injuries, which do not cease when external

exposure ends, the plain policy language thus precludes adoption of an exposure-only trigger.

           That conclusion is supported by the drafting history which, under the Sullins

standards, should be considered in determining whether the policyholder’s understanding of the

policy language is reasonable. In this case, the policyholder’s understanding that coverage does

not end when exposure ends is not only reasonable, but is in perfect accord with what the policy

drafters understood the language to mean. As already discussed, the drafters not only understood

that continuous injuries over one or more policy periods would trigger coverage in each of those

policy periods, but spent years searching unsuccessfully for some way to limit coverage, or at

least to divide it among triggered policy years. In the end, they chose the financial benefits of

the marketplace, and sold policies containing language they knew and understood to be triggered

by any injury during the policy period, with no provision for limiting or allocating coverage

among triggered carriers. They cannot now be heard to argue that there is no question of law or

fact regarding whether the policies should be read to include a limitation they consciously chose

not to include in the policies they sold.



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            The overwhelming majority of recent authority supports that view, and recognizes

that standard form comprehensive general liability insurance policies are triggered by injury

during the policy period, regardless of when the causative event which led to that injury took

place. In particular, for injuries that develop over time as a result of exposure to asbestos or

other harmful substances, courts have rejected insurer arguments that coverage ceases when

exposure ceases. See, e.g. Associated Aviation Underwriters v. Wood¸ 98 P.3d 572, 602 (Ariz.

App. 2004) (“We interpret ‘bodily injury’ to include the cellular damage caused by TCE

exposure and, even after exposure has ceased, the continuing injurious process initiated thereby.

In other words, both exposure and exposure-in-residence occurring during the policy period will

trigger insurance coverage.”) (emphasis in original); Young Women’s Christian Ass’n v. Allstate

Ins. Co., 275 F.3d 1145, 1151-52 (D.C. Cir. 2002) (“[T]he policy language provides that it is the

property damage and not the exposure to it that must occur during the policy period. The

language is thus consistent with the continuous trigger theory, which defines damage broadly to

include the entire process of damage from exposure to manifestation when the damage is of a

continuous and progressive nature.”); Montrose, 913 P.2d at 890 (“This policy language

unambiguously distinguishes between the causative event – an accident or ‘continuous and

repeated exposure to conditions’ – and the resulting ‘bodily injury or property damage.’ It is the

latter injury or damage that must ‘occur’ during the policy period”); Abex Corp. v. Md. Cas. Co.,

790 F.2d 119, 127 (D.C. Cir. 1986) (“The CGL policies expressly distinguish exposure from

injury; to equate the two . . . is to ignore this distinction.”).

            As these courts have recognized, the plain policy language, when applied to

continuous, progressive injuries that continue to spread even after exposure to the cause of those

injuries has ceased, is wholly inconsistent with an exposure-only trigger. The policies tie

coverage to bodily injury during the policy period, not exposure. In this case, unlike in Mitchell¸




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the medical evidence raises significant, material questions of fact regarding whether the

underlying claimants suffered bodily injury during the policy period even after exposure had

ceased. Those questions preclude summary judgment holding that the policies are triggered only

with respect to those claims involving exposure during the policy period.

III.       QUESTIONS OF FACT INHERENT IN THE DRAFTING HISTORY OF THE
           OCCURRENCE FORM PRECLUDE SUMMARY JUDGMENT ON THE
           ALLOCATION ISSUE
           The Insurers’ policies state that they are responsible for and will pay “all sums”

which Porter-Hayden “shall become legally obligated to pay as damages because of bodily injury

. . . to which the insurance applies, caused by an occurrence.” The policies do not contain a pro

rata allocation formula, or any other language suggesting that a pro rata allocation is proper.

Moreover, the drafting history set forth above shows that the lack of an allocation formula in the

policies was no accident – for years before beginning to sell the occurrence-form policy, the

insurance industry recognized both that the policies contained no proration formula, and that in

the absence of such a formula, they would not be allowed to impose an allocation on the

policyholder. At the very least, that drafting history raises material question of fact regarding the

reasonableness both of insurance company claims that the polices require proration, and

policyholder claims that they do not.

           Nonetheless, citing Wallace & Gale, the Insurers argue that even if any of the

underlying asbestos bodily injury claims triggered their policies, they would be liable only for a

pro-rata share of the liabilities associated with those claims. In Wallace & Gale, the Fourth

Circuit noted that the Maryland Court of Special Appeals had applied a pro-rata allocation in

Utica Mutual. It refused to certify the allocation question, and adhered to Utica Mutual’s prorata

allocation, because it found no “persuasive data” that the Maryland Court of Appeals would rule

otherwise. 385 F. 3d at 830-31.




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           This record, however, provides the persuasive data that was not presented to the

courts in Wallace & Gale or Utica Mutual: the drafting history of the policy language. That

drafting history is particularly significant on this issue, because the Utica Mutual court based its

decision in part on its conclusion that it was not “reasonable” to believe that the policies allowed

the stacking of limits: “At the time [the insured] purchased each individual insurance policy, we

doubt that [it] could have had a reasonable expectation that each single policy would indemnify

[it] for liability related to property damage occurring due to events taking place years before and

years after the term of each policy.” 802 A.2d. at 1103, quoting Pub. Serv. Co. of Colo. v. Wallis

& Cos., 986 P.2d 924, 940 (Colo. 1999) (brackets in original). What neither the Utica Mutual

nor the Wallace & Gale courts knew, however, was that the insurance industry had understood

for years before putting the occurrence policy on the market that that is precisely how the

language would work. As set forth in the accompanying Stewart Affidavit and the exhibits

annexed thereto, the insurance industry drafters tried for years to find a solution to what they

called the “stacking of limits” that would be the necessary result of the occurrence language they

drafted. Finally, they gave up, and chose to reap the competitive benefits of selling occurrence-

based coverage instead of the fiscal safety of a policy form that would not permit such stacking.

That deliberate choice is a factor which, under Sullins, must be taken into account in interpreting

and applying the policy language.

           The drafting history also raises substantial questions of fact as to the reasonableness

of the Insurers’ interpretation of the policies. At the very least, Porter-Hayden should be

allowed to argue as a matter of fact that it is not reasonable for the insurance industry to argue

for an interpretation diametrically opposed to the drafters’ express understanding of how the

policies would work. It also should be allowed to argue that the drafting history showed that

those who wrote the occurrence language understood that it was, at the very least, ambiguous




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with respect to the allocation issue. See Pan Am World Airways, Inc. v. Aetna Cas. & Sur. Co.,

368 F. Supp. 1098, 1118 (S.D.N.Y. 1973) (interpreting ambiguous policy language in favor of

the insured where “these insurers themselves recognized the ambiguities in their ancient, boiler-

plate clauses and themselves exhibited the consequent uncertainties.”)

           In Sullins, the Maryland Court of Appeals held that policy drafting history may be a

crucial factor in determining whether a policyholder’s interpretation of disputed policy language

is reasonable. Despite that, the intermediate appellate court in Utica Mutual evaluated the

reasonableness of the parties’ respective allocation positions without having access to drafting

history showing that the insurance industry drafters agreed with the policyholders’ interpretation

and disagreed with that of the Insurers. At the very least, the inability of the courts in Utica

Mutual and Wallace & Gale to consider and address that drafting history raises a substantial

issue of fact as to whether the Maryland Court of Appeals would adhere to Utica Mutual, or

would, instead, apply an allocation method consistent with both the “all sums” policy language

and the drafters’ understanding and intent, as have the highest courts of states across the

country.14 Those issue of fact preclude summary judgment on the allocation issue.15
14
       See, e.g. Goodyear Tire & Rubber Co. v. Aetna Cas. & Sur. Co., 769 N.E.2d 835, 840-42
(Ohio 2002); Hercules Inc. v. AIU Ins. Co., 784 A.2d 481, 489-91 (Del. 2001); Monsanto Co. v.
C.E. Heath Compensation and Liability Ins. Co., 652 A.2d. 30 (Del. 1994) (applying Missouri
law); Allstate Ins. Co. v. Dana Corp., 759 N.E.2d 1049, 1058-59 (Ind. 2001); J.H. France
Refractories Co. v. Allstate Ins. Co., 626 A.2d 502, 507-9 (Pa. 1993); see also Am. Nat’l Fire
Ins. Co. v. B&L Trucking & Constr. Co. Inc., 951 P.2d 250, 256-57 (Wash. 1998); Aerojet-
General Corp. v. Transport Indem. Co., 948 P.2d 909, 919-20 (Cal. 1997); Zurich Ins. Co. v.
Raymark Indus., Inc., 514 N.E.2d 150, 165 (Ill. 1987).
15
        Moreover, both the trigger and allocation questions involve, at their heart, analysis and
predictions about what the Maryland Court of Appeals has ruled or would rule. Thus the
Insurers would not be entitled to summary judgment even absent the myriad material disputes of
fact which, as shown, are implicated by their motion, because the Insurers cannot show that they
are entitled to judgment as a matter of law on either issue. Thus, even were summary judgment
not barred here by disputed issues of material fact, rather than guess how the Maryland Court of
Appeals would interpret the policy provisions at issue, this Court should certify those inherently
state-law questions to the Court of Appeals for resolution pursuant to Md. Code Ann, Cts. & Jud.
Proc. § 12-603 (2005.



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IV.          THE INSURERS ARE NOT ENTITLED TO SUMMARY JUDGMENT ON
             THE APPLICATION OF THE COMPLETED OPERATIONS AGGREGATE
             The Insurers’ arguments with respect to trigger and allocation are the set up for their

real goal on this motion – obtaining a ruling that, under the interpretation of the completed

operations hazard set forth in Wallace & Gale, the only claims that could possibly trigger their

policies arise under the completed operations hazard, and are, therefore, subject to an aggregate

limit of liability. In Wallace & Gale, the Fourth Circuit affirmed the district court determination

that the completed hazard definition in the policy applies to asbestos bodily injury claims as

follows:

                  If a claimant's initial exposure occurred while Wallace & Gale was
             still conducting operations, policies in effect at that time will not be
             subject to any aggregate limit. If, however, initial exposure is shown to
             have occurred after operations were concluded or if exposure that began
             during operations continued after operations were complete, then the
             aggregate limits of any policy that came into effect after operations were
             complete will apply.
385 F.3d at 833 (quoting the district court opinion). Under this analysis, when any of the

exposure to asbestos, whether first exposure or subsequent exposure, takes place after the

policyholder’s operations were completed, the resulting liability is subject to the aggregate limits

imposed on the completed operations hazard coverage. However, when the injuries result from

exposure only prior to the time the operations were completed, the aggregate limits are

inapplicable, because the claim does not fall within the completed operations hazard.16


16
         The lower court in Wallace & Gale had stated that, even if an underlying claimant had
been exposed only during a period when operations were ongoing, progressive injuries suffered
in later policy periods when the operations were complete would be subject to the completed
operations limits. In re Wallace & Gale Co., 275 B.R. 223, 239-40 (D. Md.), vacated in part on
other grounds, 284 B.R. 557 (D. Md. 2002), affirmed in part, 385 F.3d 820 (4th Cir. 2004).
Significantly, however, the Fourth Circuit expressly (and repeatedly) stated that it was adopting
the passage of the lower court opinion quoted in the text above, which does not address how later
injuries arising from claims relating only to “ongoing operations” exposures should be treated
under policies in place after the operations were completed. In fact, in response to the appellant's
assertion that the lower court had erred in applying the completed operations hazard to such
(Footnote continued)


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Significantly, the court recognized that this analysis would be highly fact-intensive: “Where a

given claimant falls within this framework will have to be considered on a case-by-case basis.”

Id.

           Despite the Fourth Circuit’s express recognition that this determination is intensely

fact-based, the Insurers argue that this Court can determine as a matter of law that all of the

claims against Porter-Hayden which might trigger the Insurers’ policies are subject to the

completed operations hazard. They attempt to eliminate the inherent questions of fact in the

application of Wallace & Gale by positing the following syllogism: 1) under the exposure

trigger, only those claims that involve exposure during the Insurer’s policy periods trigger the

Insurers’ policies; 2) during those policy periods, all of Porter-Hayden’s asbestos-related

operations were completed; and therefore 3) under Wallace & Gale, asbestos liabilities arising

out of those operations necessarily fall within completed operations hazard aggregate limits.




(Footnote continued from previous page)
claims, the Fourth Circuit stated that “the argument, however, is far broader on its face than the
district court's decision we have just quoted above from 275 B.R. at 241.” Id. at 833.
        To the extent that the Insurers argue that the broader analysis of the lower court, rather
than its more narrow construction by the Fourth Circuit, applies here, that analysis is wholly at
odds with the policy language. Whether an injury falls within the “completed operations hazard”
turns strictly on the cause of the injury. This focus on the cause giving rise to a long-term,
continuing injury in classifying claims to fall within the various defined hazards is inherent in the
Insurers’ use of the term “hazard.” A hazard in an insurance policy “is the source from which an
accident may arise, or ‘a danger or risk lurking in a situation which by chance or fortuity
develops into an active agency of harm.’” Ketona Chem. Corp. v. Globe Indem. Co., 404 F.2d
181, 185 (5th Cir. 1968) (“Ketona”) (quoting Hough v. Contributory Ret. Appeal Bd., 36 N.E.2d
415, 418 (Mass. 1941)). The hazard definitions focus on the cause giving rise to the
policyholder’s liability. Ketona, 404 F.2d at 185 (citation omitted).
        Simply put, the completed operations hazard addresses injuries caused by Porter
Hayden's completed operations, not injuries from its ongoing operations. To the extent a
claimant was only exposed to Porter Hayden’s ongoing operations, he or she was never “in
hazard” from Porter Hayden's completed operations, and his or her claim thus does not fall
within the completed operations hazard.



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           Unfortunately for the Insurers, each of the those three propositions is fundamentally

flawed. First, as set forth above, the Insurers’ policies are triggered not by exposure alone, but

by bodily injury during the policy. Accordingly, the Insurers’ policies can be triggered by the

continuing injuries suffered by individuals whose only exposure took place when even the

Insurers concede Porter-Hayden’s operations were ongoing. Even were there no dispute

regarding whether Porter-Hayden’s operations were complete during the Insurers’ policy

periods, therefore, that would not end the matter. The Insurers still would bear the burden of

showing whether and to what extent claims alleging bodily injury during their policy period also

involve actual exposure during that period. If they fail to make that showing with any given

claim that otherwise triggers their policy – and on this motion for summary judgment they have

not even attempted to make such a showing – the claim will not be subject to the completed

operations hazard’s aggregate limits.

           Second, there are, in fact, disputed issues of material fact with respect to whether

Porter-Hayden’s operations were “completed” even during the Insurers’ policy periods. Again,

the Insurers seek to avoid these factual questions, in this case by implying that Porter-Hayden’s

asbestos liabilities relate solely to the period during which it was an asbestos supplier and

installer. Because Porter-Hayden had “completed” all of its asbestos sales or installations prior

to the Insurers’ policy periods, the Insurers claim that all exposures during their policy periods

must have resulted from Porter-Hayden’s completed operations.

           The record in this case will not support that conclusory assumption. Even after it

ceased installing asbestos-containing insulation, Porter-Hayden continued to conduct “tie-ins”

and asbestos removals until it ceased operations altogether in 1989. The Duvall testimony, and

the Allowat and Francese affidavits, make clear not only that Porter-Hayden’s operations were

ongoing over long periods at various facilities, but that all of those operations – not merely the




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installation of asbestos insulation – resulted in the release of asbestos fibers inhaled by those

present. At the very least, on this record there are material disputes of fact as to whether and to

what extent the underlying claims arise out of operations that were not “completed” during the

policy period.

           Third, questions of fact remain as to whether an exception to the definition of

“completed operations” applies here. As noted above, excluded from that definition are bodily

injuries or property damage arising out of “the existence of tools, uninstalled equipment, or

abandoned or unused materials.” The policyholder in Wallace & Gale argued on appeal that the

asbestos fibers released during their operations constituted “abandoned or unused materials” and

were thus excluded from the definition of a completed operations hazard. The Court refused to

address that contention only because it had not been raised during any of the proceedings below.

385 F.3d at 835.

           The asbestos liabilities Porter-Hayden faces now fall squarely within the exception to

the completed hazards definition. Had a Porter-Hayden installer left a chunk of asbestos-

containing insulation behind at a plant, injuring a customer who tripped over it, there would be

no dispute that the resulting liability would fall under the “abandoned or unused” materials

exception to the completed operations definition. It is no less true that the asbestos fibers and

dust released during and left behind after installations, tie-ins or tear-outs were “abandoned,” and

“unused.” The mere fact that they were microscopically small, or that their physical impact took

place through inhalation does not alter that fact, and does not serve to bring them within the

completed operations definition.

           In short, try as they might, the Insurers cannot avoid Wallace & Gale’s clear

admonition that the application of the completed operations definition is an inherently factual

issue. They have failed to meet their burden of establishing as a matter of law and undisputed




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fact that all of the claims which trigger their policies necessarily fall within the completed

operations hazard, and their motion in that regard should be denied in all respects.

                                          CONCLUSION
           For the foregoing reasons, Porter-Hayden respectfully requests that this Court deny

the Insurers’ motion for partial summary judgment in all respects.



Dated: June 24, 2005                               Respectfully submitted,



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                                                          Porter-Hayden Company




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                  (BALTIMORE DIVISION)


NATIONAL UNION FIRE INSURANCE                   )
COMPANY OF PITTSBURGH, PA, et al.,              )
                                                )
                    Plaintiff,                  )
                                                )
               v.                               )      CASE NO. 1:03-CV-03408-AMD
                                                )      (Consolidated with: 1:03-cv-03414-AMD)
PORTER-HAYDEN COMPANY, et al.,                  )
                                                )
                    Defendants.                 )
                                                )

                                         ORDER
          Upon consideration of National Union’s and American Home’s Joint Motion for

Summary Judgment and Porter-Hayden Company’s Opposition thereto, it is hereby Ordered, this

___ day of _______, 2005, that said motion is hereby DENIED.


                                                        ______________________________
                                                        The Honorable Andre M. Davis
